               Case 1:03-cr-05453-JLT Document 481 Filed 08/11/15 Page 1 of 2


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 4 Telephone: (559) 497-4000
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 5
 6 Attorneys for Plaintiff
   United States of America
 7
 8
                                    IN THE UNITED STATES DISTRICT COURT
 9
                                        EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                            CASE NO. 1:03-CR-05453 LJO

12                                    Plaintiff,          STIPULATION REFERRING MOTION FOR
                                                          APPOINTMENT OF COUNSEL TO FEDERAL
13                             v.                         DEFENDER’S OFFICE AND PROBATION
                                                          OFFICE AND ORDER THEREON
14   MICHAEL C. NOBARI,

15                                   Defendant.

16
17           The Court is in receipt of a motion requesting appointment of counsel in relation to reduce a

18 criminal sentence pursuant to Title 18, United States Code, Section 3582(c)(2). The Court refers this
19 motion to the Probation Office and the Office of the Federal Defender and Assistant Federal Defender
20 Hannah Rose Larabee, pursuant to General Order No. 546. The Federal Defender’s Office shall have 60
21 days from the date the Court approves the stipulation/order to conduct an initial review of the motion to
22 determine the status of representation of the defendant. At such time, a notice of appearance shall be
23 filed in the case of representation is recommended or, if not, a notice stating that appointment is not
24 recommended.
25           This notice shall be served on the defendant.

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27 ///
28 ///
       STIPULATION/O RDER REFERRING MOTION FOR SENTENCE
       REDUCTION
              Case 1:03-cr-05453-JLT Document 481 Filed 08/11/15 Page 2 of 2


 1 Dated: August 11, 2015                                   BENJAMIN B. WAGNER
                                                            United States Attorney
 2
 3                                                          /s/ Kathleen A. Servatius
                                                            KATHLEEN A. SERVATIUS
 4                                                          Assistant United States Attorney
 5
     Dated: August 11, 2015                                 HEATHER E. WILLIAMS
 6                                                          Federal Defender
 7
                                                            /s/ Hannah Rose Labaree
 8                                                          HANNAH ROSE LABAREE
                                                            Assistant Federal Defender
 9                                                          Attorney for Defendant
   IT IS SO ORDERED
10 Dated: August 11, 2015
                                                          /s/ Lawrence J. O’Neill
11
                                                         United States District Judge
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      STIPULATION/O RDER REFERRING MOTION FOR SENTENCE
      REDUCTION
